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AO 455 (Rev. 01/409) Waiver of an Indictment

UNITED STATES DISTRICT COURT
for the

Southern District of Texas

United States of America
v.

MANA COLIN STROETIACA
Defendant

WAIVER OF AN INDICTMENT

{ understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by

information.
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Signature of defendant's attorney

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Judge's signature

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Judge's pr inted name and title

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